             Case 2:24-bk-50310                    Doc 1     Filed 01/29/24 Entered 01/29/24 14:53:00                         Desc Main
                                                             Document     Page 1 of 53
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Southern District of Ohio           (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                              Chapter 7
                                                              Chapter 11
                                                              Chapter 12
                                                             
                                                             ✔ Chapter 13                                                  Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Justin
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          L.
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Roach
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names and any
       assumed, trade names and
       doing business as names.

       Do NOT list the name of
       any separate legal entity
       such as a corporation,
       partnership, or LLC that is
       not filing this petition.




3.    Only the last 4 digits of                           8    8    0    4
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
            Case 2:24-bk-50310                    Doc 1          Filed 01/29/24 Entered 01/29/24 14:53:00                               Desc Main
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Debtor 1        _______________________________________________________                              Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


4.   Your Employer
                                      _________________________________________________                    _________________________________________________
      Identification Number           EIN                                                                  EIN
      (EIN), if any.
                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN




5.   Where you live                                                                                       If Debtor 2 lives at a different address:


                                           2281 Majestic Drive W.                                         _________________________________________________
                                           _________________________________________________
                                           Number     Street                                              Number     Street


                                           _________________________________________________              _________________________________________________


                                           Columbus                             OH        43232
                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code

                                           Franklin County                                                _________________________________________________
                                           _________________________________________________
                                           County                                                         County


                                           If your mailing address is different from the one              If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                    any notices to this mailing address.


                                           _________________________________________________              _________________________________________________
                                           Number     Street                                              Number     Street

                                           _________________________________________________              _________________________________________________
                                           P.O. Box                                                       P.O. Box

                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                     Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I         Over the last 180 days before filing this petition, I
                                              have lived in this district longer than in any other           have lived in this district longer than in any other
                                              district.                                                      district.

                                            I have another reason. Explain.                               I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 2
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 Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                 First Name   Middle Name             Last Name




 Pa rt 2 :    T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.   The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                             Chapter 7
                                             Chapter 11
                                             Chapter 12
                                            
                                            ✔ Chapter 13




 8.   How you will pay the fee              
                                            ✔
                                              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for     No
      bankruptcy within the
                                                        Southern District of Ohio, Eastern Division When ______________         16-51266
                                                                                                         03/02/2016 Case number __________________
      last 8 years?         
                            ✔
                              Yes.             District ____________________________________________


                                               District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________




 10. Are any bankruptcy                      No
      cases pending or being
      filed by a spouse who is        ✔ Yes.

      not filing this case with
      you, or by a business
      partner, or by an                 Jennifer Roach
                              Debtor _________________________________________________                                     Spouse
                                                                                                       Relationship to you ________________________
      affiliate?                        Southern District of Ohio, Eastern Division
                              District _______________________________________________ When _______________                        21-52123
                                                                                             06/18/2021 Case number, if known__________________

                                 Debtor _________________________________________________                         R elationship to you ___________________________

                                 District _______________________________________________ When _______________ Case number, if known__________________


11. Do you rent your                        
                                            ✔ No.  Go to line 12.
      residence?                             Yes. Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                          this bankruptcy petition.




      Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1      _______________________________________________________                                 Case number (if known)_____________________________________
              First Name        Middle Name             Last Name




Pa rt 3 :   Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12. Are you a sole proprietor                 
                                              ✔ No. Go to Part 4.
    of any full- or part-time
    business?                                  Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                        _______________________________________________________________________________________
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                    _______________________________________________________________________________________
                                                      Number    Street
    LLC.
    If you have more than one
                                                      _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                 _______________________________________________         _______     __________________________
                                                       City                                                   State       ZIP Code


                                                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above
                                              If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13. Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
                                              
                                              ✔ No. I am not filing under Chapter 11.
    defined by 11 U.S. C. §
    1182(1)?                                   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                      the Bankruptcy Code.
    For a definition of small
    business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
    11 U.S.C. § 101(51D).                             Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                               Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                 Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :   Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14. Do you own or have any                    
                                              ✔ No
    property that poses or is
    alleged to pose a threat                   Yes. What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs
                                                        If immediate attention is needed, why is it needed?
    immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                        Where is the property?




   Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                page 4
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Debtor 1      _______________________________________________________                                   Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Pa rt 5 :   Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                You must check one:
    counseling.
                                           
                                           ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.       I have a mental illness or a mental             Incapacity.      I have a mental illness or a mental
                                                                  deficiency that makes me                                          deficiency that makes me
                                                                  incapable of realizing or making                                  incapable of realizing or making
                                                                  rational decisions about finances.                                rational decisions about finances.
                                               Disability.       My physical disability causes me                Disability.      My physical disability causes me
                                                                  to be unable to participate in a                                  to be unable to participate in a
                                                                  briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                  through the internet, even after I                                through the internet, even after I
                                                                  reasonably tried to do so.                                        reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                  duty in a military combat zone.                                   duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




      Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do                          as “incurred by an individual primarily for a personal, family, or household purpose.”
    you have?
                                                    No. Go to line 16b.
                                                   
                                                   ✔ Yes. Go to line 17.
                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                    No. Go to line 16c.
                                                    Yes. Go to line 17.
                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17. Are you filing under
    Chapter 7?                                
                                              ✔ No. I am not filing under Chapter 7. Go to line 18.
    Do you estimate that after                 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                        No
    administrative expenses
    are paid that funds will be                         Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                     
                                              ✔ 1-49                                      1,000-5,000                            25,001-50,000
    you estimate that you                      50-99                                     5,001-10,000                           50,001-100,000
    owe?                                       100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19. How much do you                            $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your assets to                    $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    be worth?                                 
                                              ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20. How much do you                            $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your liabilities                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    to be?                                    
                                              ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Justin L. Roach
                                                 ______________________________________________               _____________________________
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    01/29/2024
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




            Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ Danielle Weinzimmer                                           Date           01/29/2024
                                                                                                                               _________________
                                                Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                  Danielle Weinzimmer
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  Fesenmyer Cousino Weinzimmer
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 400 S. Fifth St
                                                _________________________________________________________________________________________________
                                                Number Street

                                                 Suite 305
                                                _________________________________________________________________________________________________

                                                 Columbus                                                        OH            43215
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone 614-228-4435
                                                              ______________________________         Email address
                                                                                                                     danielle@fcwlegal.com
                                                                                                                     _________________________________________



                                                 0082119                                                         OH
                                                ______________________________________________________ ____________
                                                Bar number                                              State




           Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 7
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 Fill in this information to identify your case:

 Debtor 1
                     Justin L. Roach
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Southern District of Ohio District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 171,600.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 18,080.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 189,680.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 198,623.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 1,400.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 30,886.00
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 230,909.00
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 5,305.86
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 4,880.86
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        4,319.20
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________


                                                                                                                      1,400.00
                                                                                                           $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                           $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                           $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                         0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                                  1,400.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
              Case 2:24-bk-50310                                 Doc 1            Filed 01/29/24 Entered 01/29/24 14:53:00                                                                  Desc Main
                                                                                 Document      Page 10 of 53

Fill in this information to identify your case and this filing:

                     Justin L. Roach
Debtor 1
                     First Name              Middle Name                 Last Name

Debtor 2
(Spouse, if filing)    First Name               Middle Name                 Last Name


United States Bankruptcy Court for the: Southern District of
Ohio
                                                                                                                                                                                                        Check if this is
Case number                                                                                                                                                                                             an amended
(if know)
                                                                                                                                                                                                        filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.1 2281 Majestic Drive W.                                                     Single-family home                                                           amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
            Columbus OH             43232
                                                                                   Land                                                                         $ 171,600.00                        $ 171,600.00
            City           State    ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
            Franklin County                                                        Other                                                                        entireties, or a life estate), if known.

            County                                                               Who has an interest in the property? Check                                     Joint tenant
                                                                                 one
                                                                                      Debtor 1 only                                                                  Check if this is community property
                                                                                      Debtor 2 only
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:
                                                                                 Debtor's residence

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤        $ 171,600.00


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes




                                                                                                                                                                                                                page 1 of 6
              Case 2:24-bk-50310                                  Doc 1            Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor 1           Justin L. Roach
                 First Name          Middle Name         Last Name
                                                                                  Document      Page 11 of 53     Case number(if known)



    3.1 Make:Jeep                                                                 Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Patriot                                                                                                                                        amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2017
                                                                                       Debtor 2 only
           Approximate mileage: 125,000+                                                                                                                           Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another                                     $ 6,000.00
              Condition:Good;                                                                                                                                                                           $ 6,000.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

    3.2 Make:Mazda 3                                                              Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one                                                                           amount of any secured claims onSchedule D:
           Model:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2008
                                                                                       Debtor 2 only
           Approximate mileage: 120,000+                                                                                                                           Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another
              Condition:Fair;                                                                                                                                      $ 1,500.00                           $ 1,500.00
                                                                                      Check if this is community property (see
                                                                                  instructions)

  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                $ 7,500.00


 Part 3:        Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

         Household Goods and Furnishings
         Major appliances, furniture, towels, bedding, kitchenware                                                                                                                                      $ 5,000.00
         Location: Residence
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

         Electronics
         Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music                                                                                      $ 2,000.00
         collections; electronic devices including cell phones, camera, media players, games
  8. Collectibles of value
         Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

              No
              Yes. Describe...
  9. Equipment for sports and hobbies
         Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical instruments

              No
              Yes. Describe...
  10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
              No
              Yes. Describe...



                                                                                                                                                                                                                     page 2 of 6
             Case 2:24-bk-50310                                      Doc 1              Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor 1         Justin L. Roach
                First Name            Middle Name           Last Name
                                                                                       Document      Page 12 of 53     Case number(if known)



  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

        Clothes
        Clothes, shoes, accessories                                                                                                                                                                  $ 1,250.00
        Location: Residence
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...

      Jewelry                                                                                                                                                                                        $ 500.00
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...

      Pets                                                                                                                                                                                           $ 0.00
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤            $ 8,750.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Huntington National Bank Account (negative)                                                                                      $ 0.00

        17.2. Checking account:                                     PayPal and Venmo Electronic Accounts (used to transfer funds)                                                                    $ 0.00

        17.3. Savings account:                                      Flex Spending Savings Account (employer)                                                                                         $ 30.00

  18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts

             No
             Yes..................
        Institution or issuer name:
        FanDuel                                                                                                                                                                                      $ 0.00
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
        an LLC, partnership, and joint venture
             No
             Yes. Give specific information about them...........
        Name of entity:                                                                                                                                          % of ownership:
        Owner of J&J BookNook LLC                                                                                                                                100                %                $ 0.00

                                                                                                                                                                                                                  page 3 of 6
             Case 2:24-bk-50310                          Doc 1    Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor 1          Justin L. Roach
                First Name          Middle Name   Last Name
                                                                 Document      Page 13 of 53     Case number(if known)



  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
             No
             Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

             No
             Yes. List each account separately
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

             No
             Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
             No
             Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
             No
             Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
             No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

             No
             Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
             Yes. Give specific information about them...

 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.
  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...

           Anticipated tax refund                                                                                  Federal:           $ Unknown
                                                                                                                   State:             $ 0.00
                                                                                                                   Local:             $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....




                                                                                                                                                   page 4 of 6
             Case 2:24-bk-50310                                  Doc 1            Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor 1          Justin L. Roach
                First Name          Middle Name          Last Name
                                                                                 Document      Page 14 of 53     Case number(if known)



  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
        Company name:                                                                                                             Beneficiary:                                                     Surrender or
                                                                                                                                                                                                   refund value:
        Interest in Term Life Insurance (employer)                                                                                Spouse                                                           $ 0.00
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
        off claims
             No
             Yes. Give specific information....
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤              $ 30.00


 Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 6.
             Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.
  38. Accounts receivable or commissions you already earned
             No
             Yes. Describe...
  39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic
                  devices

             No
             Yes. Describe...

      General office equipment and supplies                                                                                                                                                          $ 500.00
  40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
             No
             Yes. Describe...
  41. Inventory
             No
             Yes. Describe...

      J&J BookNook Inventory                                                                                                                                                                         $ 1,300.00
  42. Interests in partnerships or joint ventures
             No
             Yes. Describe........
  43. Customer lists, mailing lists, or other compilations
             No
             Yes.Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
  44. Any business-related property you did not already list
             No
             Yes. Give specific information ...........

      Add the dollar value of the portion you own for all of your entries from Part 5, including any entries for pages
                                                                                                                                                                                                                   page 5 of 6
               Case 2:24-bk-50310                                      Doc 1             Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor 1            Justin L. Roach
                  First Name            Middle Name           Last Name
                                                                                        Document      Page 15 of 53     Case number(if known)



 45. Add the dollar value of the portion you own for all of your entries from Part 5, including any entries for pages
       you have attached for Part 5. Write that number here...........................................................................................................................................➤             $ 1,800.00


                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:           If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                                     $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                  $ 171,600.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 7,500.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 8,750.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 30.00
  59. Part 5: Total business-related property, line 45                                                                         $ 1,800.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 18,080.00                         Copy personal property total➤         +$
                                                                                                                                                                                                               18,080.00
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                        $ 189,680.00




                                                                                                                                                                                                                    page 6 of 6
               Case 2:24-bk-50310                 Doc 1         Filed 01/29/24 Entered 01/29/24 14:53:00                                      Desc Main
                                                               Document      Page 16 of 53
 Fill in this information to identify your case:

                     Justin L. Roach
 Debtor 1          __________________________________________________________________
                     First Name               Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name                 Last Name


                                         ______________________
 United States Bankruptcy Court for the: Southern District of Ohio District of __________
                                                                                      (State)
 Case number
  (If known)
                     ___________________________________________                                                                                      Check if this is an
                                                                                                                                                        amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the                    Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own                         exemption you claim

                                                              Copy the value from                     Check only one box
                                                              Schedule A/B                            for each exemption
                 2281 Majestic Drive W.                                                                                              2329.66(A)(1)
 Brief
 description:
                                                                      171,600.00
                                                                     $________________             161,375.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
 Line from                                                                                          any applicable statutory limit
 Schedule A/B:        1.1
                 2017 Jeep Patriot                                                                                                   2329.66(A)(2)
 Brief
 description:
                                                                       6,000.00
                                                                     $________________             4,450.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
 Line from                                                                                          any applicable statutory limit
 Schedule A/B:      3.1
              Household Goods - Household Goods and                                                                                  2329.66(A)(4)(a)
 Brief        Furnishings
 description: Major appliances, furniture, towels, bedding,
                                                                       5,000.00
                                                                     $________________             5,000.00
                                                                                                ✔ $ ____________

              kitchenware                                                                        100% of fair market value, up to
 Line from Location: Residence                                                                      any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔ No

      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes

Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                             2
                                                                                                                                                             page 1 of __
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Debtor          Justin L. Roach                     Document
               _______________________________________________________
                                                                       Page 17 of Case
                                                                                   53 number (if known)_____________________________________
                First Name      Middle Name            Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                  Amount of the                        Specific laws that allow exemption
                                                                         Current value of the   exemption you claim
         on Schedule A/B that lists this property                        portion you own
                                                                        Copy the value from    Check only one box
                                                                         Schedule A/B           for each exemption
               Electronics - Electronics                                                                                              2329.66(A)(4)(a)
Brief        Televisions and radios; audio, video, stereo, and digital
description: equipment; computers, printers, scanners; music
                                                                          2,000.00
                                                                         $________________         2,000.00
                                                                                                ✔ $ ____________
               collections; electronic devices including cell phones,                            100% of fair market value, up to
Line from camera, media players, games                                                              any applicable statutory limit
Schedule A/B:   7
               Clothing - Clothes                                                                                                     2329.66(A)(4)(a)
Brief        Clothes, shoes, accessories
description: Location: Residence                                         $________________
                                                                          1,250.00              
                                                                                                ✔ $ ____________
                                                                                                    1,250.00
                                                                                                 100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:         11
               Jewelry - Jewelry                                                                                                      2329.66(A)(4)(b)
Brief
description:                                                             $________________
                                                                          500.00                
                                                                                                ✔ $ ____________
                                                                                                    500.00
                                                                                                 100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:        12
               Cash on hand (Cash on Hand)                                                                                            2329.66(A)(3)
Brief
description:
                                                                          0.00
                                                                         $________________         0.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:         16
               Huntington National Bank Account (negative) (Checking                                                                  2329.66(A)(3)
Brief          Account)
description:
                                                                          0.00
                                                                         $________________         0.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:         17.1
               Flex Spending Savings Account (employer) (Savings                                                                      2329.66(A)(3)
Brief
description:
               Account)                                                   30.00
                                                                         $________________         30.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:          17.3
               Anticipated tax refund (owed to debtor)                                                                                2329.66 (A)(9)(f)
Brief
description:
                                                                          Unknown
                                                                         $________________         0.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:          28
               Anticipated tax refund (owed to debtor)                                                                                2329.66(A)(3)
Brief
description:
                                                                          Unknown
                                                                         $________________         0.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:          28
               Anticipated tax refund (owed to debtor)                                                                                2329.66(A)(18)
Brief
description:
                                                                          Unknown
                                                                         $________________       $ ____________
                                                                                                ✔   0.00
                                                                                                 100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:          28
               Interest in Term Life Insurance (employer)                                                                             2329.66(A)(6)(c)
Brief                                                                     0.00
description:                                                             $________________       $ ____________
                                                                                                ✔   0.00
                                                                                                 100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:        31
               General office equipment and supplies                                                                                  2329.66(A)(5)
Brief
description:
                                                                          500.00
                                                                         $________________         500.00
                                                                                                ✔ $ ____________
                                                                                                 100% of fair market value, up to
                                                                                                    any applicable statutory limit
Line from
Schedule A/B:        39
               J&J BookNook Inventory                                                                                                 2329.66(A)(5)
Brief
description:
                                                                          1,300.00
                                                                         $________________         1,300.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
Line from                                                                                           any applicable statutory limit
Schedule A/B:           41


 Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                      2     2
                                                                                                                                                          page ___ of __
               Case 2:24-bk-50310                           Doc 1      Filed 01/29/24 Entered 01/29/24 14:53:00                          Desc Main
                                                                      Document      Page 18 of 53
  Fill in this information to identify your case:

  Debtor 1           Justin L. Roach
                     First Name                               Last Name
                                         Middle Name

  Debtor 2
  (Spouse, if filing) First Name              Middle Name
                                                                   Last Name



  United States Bankruptcy Court for the: Southern District of Ohio

  Case number                                                                                                                                      Check if this is
  (if know)                                                                                                                                        an amended
                                                                                                                                                   filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:       List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A           Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of          Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not           collateral that   portion If any
                                                                                                              deduct the value   supports this
                                                                                                              of collateral.     claim
 2.1                                                            Describe the property that secures the claim: $ 10,958.00        $ 6,000.00        $ 4,958.00


       Ally Fincl
                                                              2017 Jeep Patriot - $6,000.00
       Creditor’s Name
       P.O. Box 380901
       Number                                                 As of the date you file, the claim is: Check all
                     Street
       Bloomington MN              55438                      that apply.
       City                State   ZIP Code                      Contingent
       Who owes the debt? Check one.                             Unliquidated
         Debtor 1 only                                           Disputed
         Debtor 2 only
                                                              Nature of lien. Check all that apply.
         Debtor 1 and Debtor 2 only
                                                                 An agreement you made (such as mortgage or
         At least one of the debtors and another                 secured car loan)
                                                                 Statutory lien (such as tax lien, mechanic’s lien)
              Check if this claim relates to a
              community debt                                     Judgment lien from a lawsuit
                                                                 Other (including a right to offset)
       Date debt was incurred 02-17-2018
                                                              Last 4 digits of account number 1624




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                                  page 1 of 2
                Justin L. Roach
Debtor          Case     2:24-bk-50310
                First Name           Middle Name   Last Name   Doc 1     Filed 01/29/24 Entered 01/29/24Case
                                                                                                         14:53:00         Desc Main
                                                                                                             number(if known)

                                                                        Document      Page 19 of 53
 2.2                                                               Describe the property that secures the claim: $ 2,922.00             $ 1,500.00     $ 1,422.00


        Caponeauto                                               2008 Mazda 3 - $1,500.00
        Creditor’s Name
        3901 North Dallas Tollway
        Number                                                   As of the date you file, the claim is: Check all
                     Street
        Plano TX             75093                               that apply.
        City      State      ZIP Code                               Contingent
        Who owes the debt? Check one.                               Unliquidated
          Debtor 1 only                                             Disputed
          Debtor 2 only
                                                                 Nature of lien. Check all that apply.
          Debtor 1 and Debtor 2 only
                                                                    An agreement you made (such as mortgage or
          At least one of the debtors and another                   secured car loan)
                                                                    Statutory lien (such as tax lien, mechanic’s lien)
               Check if this claim relates to a
               community debt                                       Judgment lien from a lawsuit
                                                                    Other (including a right to offset)
        Date debt was incurred 06-04-2019
                                                                 Last 4 digits of account number 5355

 2.3                                                               Describe the property that secures the claim: $ 184,743.00           $ 171,600.00   $ 13,143.00


        Pennymac                                                 2281 Majestic Drive W., Columbus, OH 43232 - $171,600.00
        Creditor’s Name
        P O Box 514387
        Number                                                   As of the date you file, the claim is: Check all
                     Street
        Los Angeles CA                90051                      that apply.
        City                 State    ZIP Code                      Contingent
        Who owes the debt? Check one.                               Unliquidated
          Debtor 1 only                                             Disputed
          Debtor 2 only
                                                                 Nature of lien. Check all that apply.
          Debtor 1 and Debtor 2 only
                                                                    An agreement you made (such as mortgage or
          At least one of the debtors and another                   secured car loan)
                                                                    Statutory lien (such as tax lien, mechanic’s lien)
               Check if this claim relates to a
               community debt                                       Judgment lien from a lawsuit
                                                                    Other (including a right to offset)
        Date debt was incurred 08-13-2021
                                                                 Last 4 digits of account number 2479

       Add the dollar value of your entries in Column A on this page. Write that number here:                            $ 198,623.00


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                                Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 2
                Case 2:24-bk-50310                             Doc 1     Filed 01/29/24 Entered 01/29/24 14:53:00                                   Desc Main
                                                                        Document      Page 20 of 53
   Fill in this information to identify your case:

                   Justin L. Roach
   Debtor 1
                   First Name                                    Last Name
                                            Middle Name

   Debtor 2
   (Spouse, if filing) First Name                Middle Name
                                                                       Last Name



   United States Bankruptcy Court for the: Southern District of Ohio

   Case number                                                                                                                                                  Check if this is
   (if know)                                                                                                                                                    an amended
                                                                                                                                                                filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
      claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
      amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured
      claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. (For an explanation of
      each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                     Total claim   Priority        Nonpriority
                                                                                                                                                   amount          amount
  2.1                                                                        Last 4 digits of account number
         City of Columbus                                                                                                            $ 1,400.00    $ 1,400.00      $ 0.00
         Priority Creditor's Name
                                                                             When was the debt incurred? 2021

         P.O. Box 182882                                                     As of the date you file, the claim is: Check all
         Number
                       Street
                                                                             that apply.
         Columbus OH             43218-2882                                     Contingent
         City            State   ZIP Code                                       Unliquidated
         Who owes the debt? Check one.                                          Disputed
             Debtor 1 only
                                                                             Type of PRIORITY unsecured claim:
             Debtor 2 only
                                                                                Domestic support obligations
             Debtor 1 and Debtor 2 only
                                                                                Taxes and certain other debts you owe the
             At least one of the debtors and another                            government
             Check if this claim relates to a community                         Claims for death or personal injury while you were
             debt                                                               intoxicated
         Is the claim subject to offset?                                       Other. Specify
             No
             Yes




Official Form 106E/F                                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               page 1 of 7
                 Justin L. Roach
 Debtor          Case     2:24-bk-50310
                 First Name           Middle Name   Last Name   Doc 1     Filed 01/29/24 Entered 01/29/24Case
                                                                                                          14:53:00         Desc Main
                                                                                                              number(if known)

                                                                         Document      Page 21 of 53
  2.2                                                                      Last 4 digits of account number
          Ohio Department of Taxation                                                                                              $ 0.00    $ 0.00      $ 0.00
          Priority Creditor's Name
                                                                           When was the debt incurred? 2022

          P.O. Box 182401                                                  As of the date you file, the claim is: Check all
          Number
                        Street
                                                                           that apply.
          Columbus OH                 43218-0000                              Contingent
          City            State       ZIP Code                                Unliquidated
          Who owes the debt? Check one.                                       Disputed
              Debtor 1 only
                                                                           Type of PRIORITY unsecured claim:
              Debtor 2 only
                                                                              Domestic support obligations
              Debtor 1 and Debtor 2 only
                                                                              Taxes and certain other debts you owe the
              At least one of the debtors and another                         government
              Check if this claim relates to a community                      Claims for death or personal injury while you were
              debt                                                            intoxicated
          Is the claim subject to offset?                                    Other. Specify
              No
              Yes
   Part 2:        List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
        Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                                      Last 4 digits of account number
          Amazon                                                                                                                                           $ 3,033.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          410 Terry Ave North                                              As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Seattle WA             98109-0000                                   Unliquidated
          City        State      ZIP Code                                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.2                                                                      Last 4 digits of account number 2759
          Bestegg                                                                                                                                          $ 5,577.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 05-11-2022

          Po Box 42912                                                     As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Philadelphia PA               19101                                 Unliquidated
          City                State     ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                     page 2 of 7
                 Justin L. Roach
 Debtor          Case     2:24-bk-50310
                 First Name           Middle Name   Last Name   Doc 1     Filed 01/29/24 Entered 01/29/24Case
                                                                                                          14:53:00         Desc Main
                                                                                                              number(if known)

                                                                         Document      Page 22 of 53
  4.3                                                                      Last 4 digits of account number 2825
          Capital One                                                                                                                        $ 3,373.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 03-14-2019

          Po Box 85064                                                     As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Glen Allen VA               23058                                   Unliquidated
          City                State   ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.4                                                                      Last 4 digits of account number 6880
          Dfs/Webbk                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 11-02-2010

          3500 Wadley Place Bldg A                                         As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Austin TX              78728                                        Unliquidated
          City      State        ZIP Code                                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.5                                                                      Last 4 digits of account number 0142
          First Premier Bank                                                                                                                 $ 1,620.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 02-17-2017

          601 S Minnesota Ave                                              As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Sioux Falls SD              57104                                   Unliquidated
          City                State   ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                      page 3 of 7
                 Justin L. Roach
 Debtor          Case     2:24-bk-50310
                 First Name           Middle Name    Last Name   Doc 1     Filed 01/29/24 Entered 01/29/24Case
                                                                                                           14:53:00         Desc Main
                                                                                                               number(if known)

                                                                          Document      Page 23 of 53
  4.6                                                                       Last 4 digits of account number 7439
          Hnbhsc                                                                                                                                 $ 0.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred? 01-21-2023

          Huntington Bank                                                   As of the date you file, the claim is: Check all that apply.
          Number                                                               Contingent
                        Street
          Columbus OH                 43216                                    Unliquidated
          City            State       ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.7                                                                       Last 4 digits of account number 1789
          Kohls/Cap1                                                                                                                           $ 659.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred? 09-22-2022

          Po Box 3115                                                       As of the date you file, the claim is: Check all that apply.
          Number                                                               Contingent
                        Street
          Milwaukee WI                53201                                    Unliquidated
          City                State   ZIP Code                                 Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another
                                                                               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify Collection Agency
          Is the claim subject to offset?
              No
              Yes

  4.8                                                                       Last 4 digits of account number 0582
          Ollo/Cws                                                                                                                            $ 3,697.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred? 06-24-2018

          Po Box 9222                                                       As of the date you file, the claim is: Check all that apply.
          Number                                                               Contingent
                        Street
          Old Bethpage NY                 11804                                Unliquidated
          City                   State    ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another
                                                                               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                     Schedule E/F: Creditors Who Have Unsecured Claims                      page 4 of 7
                 Justin L. Roach
 Debtor          Case     2:24-bk-50310
                 First Name         Middle Name   Last Name   Doc 1     Filed 01/29/24 Entered 01/29/24Case
                                                                                                        14:53:00         Desc Main
                                                                                                            number(if known)

                                                                       Document      Page 24 of 53
  4.9                                                                    Last 4 digits of account number 7948
          Onemain                                                                                                                          $ 1,406.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 11-12-2020

          Po Box 1010                                                    As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          Evansville IN             47706                                   Unliquidated
          City            State     ZIP Code                                Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.10 Syncb/Amazon                                                      Last 4 digits of account number 9119
                                                                                                                                            $ 665.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 04-23-2020

          Po Box 981432                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          El Paso TX              79998                                     Unliquidated
          City         State      ZIP Code                                  Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.11 Syncb/Naut                                                        Last 4 digits of account number 2409
                                                                                                                                              $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred? 01-11-2011

          Po Box 981439                                                  As of the date you file, the claim is: Check all that apply.
          Number                                                            Contingent
                        Street
          El Paso TX              79998                                     Unliquidated
          City         State      ZIP Code                                  Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another
                                                                            Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                  Schedule E/F: Creditors Who Have Unsecured Claims                      page 5 of 7
                 Justin L. Roach
 Debtor          Case     2:24-bk-50310
                 First Name           Middle Name   Last Name   Doc 1     Filed 01/29/24 Entered 01/29/24Case
                                                                                                          14:53:00         Desc Main
                                                                                                              number(if known)

                                                                         Document      Page 25 of 53
  4.12 Syncb/Ppc                                                           Last 4 digits of account number 7377
                                                                                                                                                $ 1,835.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 08-28-2022

          Po Box 530975                                                    As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Orlando FL             32896                                        Unliquidated
          City         State     ZIP Code                                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another
                                                                              Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.13 Upgrade Inc                                                         Last 4 digits of account number 3618
                                                                                                                                                $ 8,172.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 08-30-2021

          2 North Central Ave, 10th Flr                                    As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Phoenix AZ             85004                                        Unliquidated
          City         State     ZIP Code                                     Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Monies Loaned / Advanced
          Is the claim subject to offset?
              No
              Yes

  4.14 Wf Bank Na                                                          Last 4 digits of account number 3222
                                                                                                                                                  $ 849.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 09-17-2021

          Po Box 14517                                                     As of the date you file, the claim is: Check all that apply.
          Number                                                              Contingent
                        Street
          Des Moines IA                 50306                                 Unliquidated
          City                State     ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
     you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


   Part 4:        Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                         page 6 of 7
              Justin L. Roach
 Debtor       Case     2:24-bk-50310
               First Name     Middle Name   Last Name   Doc 1     Filed 01/29/24 Entered 01/29/24Case
                                                                                                  14:53:00         Desc Main
                                                                                                      number(if known)

                                                                 Document      Page 26 of 53

                                                                                                              Total claim

   Total claims        6a. Domestic support obligations                                             6a.   $ 0.00
   from Part 1
                       6b. Taxes and certain other debts you owe the                                6b.   $ 1,400.00
                       government
                       6c. Claims for death or personal injury while you were                       6c.   $ 0.00
                           intoxicated
                       6d. Other. Add all other priority unsecured claims. Write that               6d.   $ 0.00
                           amount here.
                       6e. Total. Add lines 6a through 6d.                                          6e.
                                                                                                           $ 1,400.00



                                                                                                              Total claim

   Total claims        6f. Student loans                                                            6f.   $ 0.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                     6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                      6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that            6i.   $ 30,886.00
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                          6j.
                                                                                                           $ 30,886.00




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims              page 7 of 7
             Case 2:24-bk-50310                  Doc 1        Filed 01/29/24 Entered 01/29/24 14:53:00                  Desc Main
                                                             Document      Page 27 of 53
  Fill in this information to identify your case:

  Debtor 1
                     Justin L. Roach
                      First Name                              Last Name
                                       Middle Name

  Debtor 2
  (Spouse, if filing) First Name            Middle Name
                                                                   Last Name



  United States Bankruptcy Court for the: Southern District of Ohio

  Case number                                                                                                                   Check if this is
  (if know)                                                                                                                     an amended
                                                                                                                                filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is
    for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
    executory contracts and unexpired leases.


       Person or company with whom you have the contract or lease State what the contract or lease is for




Official Form 106G                                        Schedule G: Executory Contracts and Unexpired Leases                           page 1 of 1
               Case 2:24-bk-50310                     Doc 1     Filed 01/29/24 Entered 01/29/24 14:53:00                             Desc Main
                                                               Document      Page 28 of 53
Fill in this information to identify your case:

Debtor 1
                 Justin L. Roach
                  First Name                            Last Name
                                   Middle Name

Debtor 2
(Spouse, if filing) First Name          Middle Name
                                                              Last Name



United States Bankruptcy Court for the: Southern District of Ohio

Case number                                                                                                                                   Check if this is
(if know)                                                                                                                                     an amended
                                                                                                                                              filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
    California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
    line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
    Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
    out Column 2.


       Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt
                                                                                                 Check all schedules that apply:
3.1     Jennifer Roach                                                                               Schedule D, line 2.3
        Name                                                                                         Schedule E/F, line
        2281 Majestic Drive W.                                                                       Schedule G, line
        Street
        Columbus                                                    OH       43232
        City                                                        State    ZIP Code
3.2     Jennifer Roach                                                                               Schedule D, line 2.2
        Name                                                                                         Schedule E/F, line
        2281 Majestic Drive W.                                                                       Schedule G, line
        Street
        Columbus                                                    OH       43232
        City                                                        State    ZIP Code




Official Form 106H                                                          Schedule H: Your Codebtors                                               page 1 of 1
               Case 2:24-bk-50310               Doc 1      Filed 01/29/24 Entered 01/29/24 14:53:00                             Desc Main
                                                          Document      Page 29 of 53
 Fill in this information to identify your case:

                      Justin L. Roach
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name              Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name              Last Name


 United States Bankruptcy Court for the: ______________________
                                          Southern District of Ohio District
                                                                                  tate)
 Case number         ___________________________________________                                      Check if this is:
  (If known)
                                                                                                       An amended filing
                                                                                                       A supplement showing postpetition chapter 13
                                                                                                         income as of the following date:
                                                                                                         ________________
Official Form 106I                                                                                       MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                           Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                         ✔ Employed                                   ✔ Employed
    information about additional         Employment status                                                          
    employers.                                                           Not employed                                Not employed
    Include part-time, seasonal, or
    self-employed work.                                                  Data Center Associate                       Patient Care
                                         Occupation                    __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                         DV Schenker                                 Select Hospitals
                                         Employer’s name              __________________________________            __________________________________


                                         Employer’s address              1305 Executive Blvd, Ste 200
                                                                      _______________________________________        4714 Gettysburg Rd
                                                                                                                  ________________________________________
                                                                       Number Street                               Number    Street

                                                                      _______________________________________     ________________________________________

                                                                      _______________________________________     ________________________________________

                                                                         Chesapeake, VA 23320
                                                                      _______________________________________         Mechanicsburg, PA 17055
                                                                                                                  ________________________________________
                                                                       City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________
                                                                   2 months                                         ________________________
                                                                                                                     1 month


 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                 For Debtor 1       For Debtor 2 or
                                                                                                                    non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.          2.       3,715.10               3,140.28
                                                                                                $___________          $____________

 3. Estimate and list monthly overtime pay.                                               3.   + $___________
                                                                                                         0.00      + $____________
                                                                                                                              0.00

 4. Calculate gross income. Add line 2 + line 3.                                          4.       3,715.10
                                                                                                $__________               3,140.28
                                                                                                                      $____________




Official Form 106I                                                Schedule I: Your Income                                                     page 1
            Case  2:24-bk-50310
              Justin L. Roach
                                                           Doc 1         Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor 1         _______________________________________________________Document      Page 30 of Case
                                                                                                  53 number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.      3,715.10
                                                                                                                        $___________              3,140.28
                                                                                                                                              $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.         567.06
                                                                                                                        $____________               456.91
                                                                                                                                              $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.         111.45
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5d. Required repayments of retirement fund loans                                                            5d.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5e. Insurance                                                                                               5e.         256.01
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
                                                                                                                               0.00
                                                                                                                        $____________                 0.00
                                                                                                                                              $_____________
     5g. Union dues                                                                                              5g.
                                     HSA                                                                         5h. + $____________
     5h. Other deductions. Specify: __________________________________                                                       65.00          + $_____________
                                                                                                                                                       0.00
     Accident
    _____________________________________________________________
                                                                                                                              11.53
                                                                                                                        $____________         $____________
     Legal
    _____________________________________________________________                                                              9.97
                                                                                                                        $____________         $____________
     Critical Life/Hospital
    _____________________________________________________________                                                             71.59
                                                                                                                        $____________         $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.       1,092.61
                                                                                                                        $____________               456.91
                                                                                                                                              $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.       2,622.49
                                                                                                                        $____________             2,683.37
                                                                                                                                              $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                   0.00                    0.00
                                                                                                                        $____________         $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00                    0.00
                                                                                                                        $____________         $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                      0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

     8g. Pension or retirement income                                                                            8g.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h. + $____________
                                                                                                                              0.00          + $_____________
                                                                                                                                                       0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.           0.00
                                                                                                                        $____________                  0.00
                                                                                                                                              $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           2,622.49
                                                                                                                        $___________    +         2,683.37
                                                                                                                                              $_____________      = $_____________
                                                                                                                                                                       5,305.86

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                       5,305.86
                                                                                                                                                                    $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                      12.
                                                                                                                                                                    Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔ No.           Debtor switched employers recently and non-filing spouse just started employment after being off on
       Yes. Explain: maternity leave. Self-employment income has significantly dropped, and Debtor estimates no income for
                               at least the next 6 months; but will make any amendments if the income changes. NONE
  Official Form 106I                                                               Schedule I: Your Income                                                            page 2
            Case 2:24-bk-50310            Doc 1         Filed 01/29/24 Entered 01/29/24 14:53:00             Desc Main
                Justin L. Roach                        Document      Page 31 of 53
 Debtor 1                                                           _               Case number (if known)
               First Name   Middle Name    Last Name



                                              Continuation Sheet for Official Form 106I



1. Describe Employment:

Debtor: Justin L. Roach

Occupation: Self employed/Book sales

Name of Employer: Self/Book Sales

Employer's Address:

Length of Employment:

-------




   Official Form 106I                                     Schedule I: Your Income
               Case 2:24-bk-50310                Doc 1        Filed 01/29/24 Entered 01/29/24 14:53:00                                        Desc Main
                                                             Document      Page 32 of 53
  Fill in this information to identify your case:

                     Justin L. Roach
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          Southern District of Ohio
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________    District of __________                       expenses as of the following date:
                                                                                     (State)
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  No                                           Dependent’s relationship to              Dependent’s    Does dependent live
   Do not list Debtor 1 and                ✔ Yes. Fill out this information for
                                                                                         Debtor 1 or Debtor 2                     age            with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’                                                            Child                                    4              No
                                                                                          _________________________                ________
   names.                                                                                                                                         
                                                                                                                                                  ✔ Yes
                                                                                           Child
                                                                                          _________________________                 infant
                                                                                                                                   ________        No
                                                                                                                                                  
                                                                                                                                                  ✔ Yes

                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
                                                                                          _________________________                ________        No
                                                                                                                                                   Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 1,150.00
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                       0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                       0.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                     75.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                               page 1
               Case 2:24-bk-50310                 Doc 1           Filed 01/29/24 Entered 01/29/24 14:53:00                     Desc Main
                                                                 Document      Page 33 of 53
                    Justin L. Roach
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                         0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                      350.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                       75.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                      270.00
        6d.                     Streaming services
              Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                       25.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                      950.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                      550.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                      200.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                      115.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                      250.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                      400.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                       45.86
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                         0.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.                    0.00
                                                                                                                        $_____________________
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                         0.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                      140.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                        16.
                                                                                                                                        0.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                         0.00
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                         0.00
                              Spouse CH 13 plan payment
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                      235.00
        17d. Other. Specify:_______________________________________________                                      17d.                    0.00
                                                                                                                        $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.                    0.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
              Case 2:24-bk-50310                Doc 1           Filed 01/29/24 Entered 01/29/24 14:53:00                         Desc Main
                                                               Document      Page 34 of 53
                   Justin L. Roach
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Pet expense (food, vet, prescriptions)
                                                                                                                                         50.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 4,880.86
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 4,880.86
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       5,305.86
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 4,880.86
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                    425.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
       Yes.        Explain here:




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
                Case 2:24-bk-50310                  Doc 1    Filed 01/29/24 Entered 01/29/24 14:53:00                            Desc Main
                                                            Document      Page 35 of 53
Fill in this information to identify your case:

Debtor 1           Justin L. Roach
                  __________________________________________________________________
                    First Name              Middle Name            Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name            Last Name


                                        ______________________
United States Bankruptcy Court for the:Southern District of Ohio District of __________
                                                                               (State)
Case number         ___________________________________________
(If known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                    12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔ No

        Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                              Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Justin L. Roach
          ______________________________________________           _____________________________
         Signature of Debtor 1                                        Signature of Debtor 2


              01/29/2024
         Date _________________                                       Date _________________
                MM /    DD       /   YYYY                                      MM / DD /   YYYY




  Official Form 106Dec                                    Declaration About an Individual Debtor’s Schedules
             Case 2:24-bk-50310                        Doc 1          Filed 01/29/24 Entered 01/29/24 14:53:00                                       Desc Main
                                                                     Document      Page 36 of 53

 Fill in this information to identify your case:

                    Justin L. Roach
 Debtor 1
                    First Name         Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name        Middle Name           Last Name



 United States Bankruptcy Court for the: Southern District of Ohio

 Case number
 (if know)                                                                                                                                                       Check if this is
                                                                                                                                                                 an amended
                                                                                                                                                                 filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                         Debtor 1                                                 Debtor 2

                                                                         Sources of income         Gross income                   Sources of income         Gross income
                                                                         Check all that apply      (before deductions and         Check all that apply      (before deductions and
                                                                                                   exclusions)                                              exclusions)

         From January 1 of current year until the date                      Wages, commissions,                                      Wages, commissions,
         you filed for bankruptcy:                                          bonuses, tips      $ 2,254.99                            bonuses, tips      $
                                                                            Operating a business                                     Operating a business


         For last calendar year:                                            Wages, commissions,                                      Wages, commissions,
                                                                            bonuses, tips      $ 21,026.00                           bonuses, tips      $
         (January 1 to December 31, 2023
                                                                            Operating a business                                     Operating a business


         For the calendar year before that:                                 Wages, commissions,                                      Wages, commissions,
                                                                            bonuses, tips      $ 25,109.00                           bonuses, tips      $
         (January 1 to December 31, 2022
                                                                            Operating a business                                     Operating a business


 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
    and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
    Debtor 1.

Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1 of 7
                Case 2:24-bk-50310                              Doc 1     Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor           Justin L. Roach
                First Name       Middle Name        Last Name
                                                                         Document      Page 37 of 53     Case number(if known)




   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.


 Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                      the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                      as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and
                            alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                                  Dates of payment              Total amount paid             Amount you still owe    Was this payment
                                                                                                                                                      for…

                                                                                                                                                        Mortgage
                        Pennymac                                  12/01/2023                    $ 3,450.00                    $ 184,743.00              Car
                        Creditor’s Name                           11/01/2023                                                                            Credit card
                        P O Box 514387                                                                                                                  Loan repayment
                        Number                                                                                                                          Suppliers or
                                   Street
                        Los Angeles CA              90051                                                                                            vendors
                                                                                                                                                        Other
                        City                State   ZIP Code


7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.
                                            Dates of payment                       Total amount paid             Amount you still owe        Reason for this payment


                                                                                                                                             Aunt and Uncle assisted
         Family                                      04/2023                       $ 5,000.00                    $ 0.00                      Debtor and he paid them back
         Creditor’s Name                             11/2023                                                                                 monthly over time.


         Number
                      Street
         .        .          .
         City     State      ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures

Official Form 107                                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2 of 7
                 Case 2:24-bk-50310                          Doc 1     Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor            Justin L. Roach
                 First Name       Middle Name    Last Name
                                                                      Document      Page 38 of 53     Case number(if known)



9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.
                                                                 Nature of the case                      Court or agency                                   Status of the
                                                                                                                                                           case

    Case title:                                                  ; Date filed: 10/03/2023                                                                       Pending
    Ohio State Dept of Taxation v.                                                                       Franklin County Court of Common Pleas                  On appeal
    Justin Roach                                                                                         Court Name
    Case number:                                                                                                                                                Concluded
                                                                                                         345 S. High St.
    23JG078480 and seq.
                                                                                                         Number
                                                                                                                    Street
                                                                                                         Columbus OH           43215
                                                                                                         City         State    ZIP Code

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.
                                                                     Describe the property                                                Date              Value of the
                                                                                                                                                            property
                                                                     2017 Jeep Patriot repossessed                                         01/2024           $ 6,000.00
          Ally Fincl
          Creditor’s Name                                            Explain what happened
          P.O. Box 380901
                                                                          Property was repossessed.
          Number         Street
                                                                          Property was foreclosed.
          Bloomington MN              55438
                                                                          Property was garnished.
          City                State   ZIP Code
                                                                          Property was attached, seized, or levied.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:          List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:          List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.
          Describe the property you lost and how                     Describe any insurance coverage for the loss                         Date of your loss Value of
          the loss occurred                                                                                                                                 property lost
                                                                     Include the amount that insurance has paid. List pending
                                                                     insurance claims on line 33 of Schedule A/B: Property.
         Gambling losses                                           NA                                                                      12/2023           $ 200.00




Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3 of 7
                 Case 2:24-bk-50310                             Doc 1     Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor            Justin L. Roach
                 First Name           Middle Name   Last Name
                                                                         Document      Page 39 of 53     Case number(if known)




 Part 7:          List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.
                                                                        Description and value of any property transferred               Date payment or Amount of
                                                                                                                                        transfer was    payment
                                                                                                                                        made
                                                                      Credit counseling course                                            2024           $ 14.95
          Summit Financial Education                                                                                                                     $
          Person Who Was Paid


          Number
                         Street
          .          .           .
          City       State       ZIP Code
          www.summitfe.org
          Email or website address


          Person Who Made the Payment, if Not You

                                                                        Description and value of any property transferred               Date payment or Amount of
                                                                                                                                        transfer was    payment
                                                                                                                                        made
                                                                      $500.00 Attorney Fee $313.00 Filing Fee $37.00 Credit               2024           $ 850.00
          Fesenmyer Cousino Weinzimmer                                Report                                                                             $
          Person Who Was Paid
          400 S. Fifth St
          Number
                         Street
          Suite 305

          Columbus OH                 43215
          City                State   ZIP Code
          www.fcwlegal.com
          Email or website address


          Person Who Made the Payment, if Not You


17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.
                                                                    Description and value of                Describe any property or payments received   Date transfer
                                                                    property transferred                    or debts paid in exchange                    was made

                                                                     Sold Real estate at 429                                                              05/18/2021
          Independent Buyer                                          Pamlico St, Columbus, OH
          Person Who Received Transfer                               43228 and used funds towards
                                                                     the purchase of Debtor's
                                                                     residence and bills.,
          Number         Street                                      $142,000.00
          .          .           .
          City       State       ZIP Code

          Person’s relationship to you NA




Official Form 107                                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 4 of 7
               Case 2:24-bk-50310                        Doc 1     Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor          Justin L. Roach
               First Name     Middle Name    Last Name
                                                                  Document      Page 40 of 53     Case number(if known)



19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:        Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:        Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership


Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy          page 5 of 7
                Case 2:24-bk-50310                         Doc 1     Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor           Justin L. Roach
                First Name       Middle Name   Last Name
                                                                    Document      Page 41 of 53     Case number(if known)



             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

                                                                     Describe the nature of the business                           Employer Identification number
         J&J Book Nook                                                                                                             Do not include Social Security number or
                                                                    Amazon Book Sales                                              ITIN.
         Business Name
         Debtor's residence
                                                                                                                                   EIN:       –
         Number                                                       Name of accountant or bookkeeper
                       Street                                                                                                      Dates business existed
         .         .         .
         City      State     ZIP Code                                                                                              From 05/01/2016 To Current


28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6 of 7
              Case 2:24-bk-50310                           Doc 1     Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor         Justin L. Roach
              First Name         Middle Name   Last Name
                                                                    Document      Page 42 of 53     Case number(if known)




 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Justin L. Roach
         Signature of Debtor 1                                                  Signature of Debtor 2

         Date 01/29/2024                                                        Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                              Declaration, and Signature (Official Form 119).




Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7 of 7
              Case 2:24-bk-50310                Doc 1      Filed 01/29/24 Entered 01/29/24 14:53:00                              Desc Main
                                                          Document      Page 43 of 53
 Fill in this information to identify your case:                                                                Check as directed in lines 17 and 21:
                                                                                                                According to the calculations required by
 Debtor 1           Justin L. Roach
                   __________________________________________________________________                           this Statement:
                     First Name             Middle Name             Last Name

 Debtor 2            ________________________________________________________________                            1. Disposable income is not determined
                                                                                                                ✔
 (Spouse, if filing) First Name             Middle Name             Last Name                                         under 11 U.S.C. § 1325(b)(3).

 United States Bankruptcy Court for the: __________
                                         Southern District      __________
                                                           ofofOhio
                                                     District                                                    2. Disposable income is determined
                                                                                                                      under 11 U.S.C. § 1325(b)(3).
 Case number         ___________________________________________
 (If known)                                                                                                      3. The commitment period is 3 years.
                                                                                                                ✔
                                                                                                                 4. The commitment period is 5 years.

                                                                                                                 Check if this is an amended filing


Official Form 122C–1
Cha pt e r 1 3 St a t e m e nt of Y our Curre nt M ont hly I nc om e
a nd Ca lc ula t ion of Com m it m e nt Pe riod                                                                                                 10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Pa rt 1 :         Ca lc ula te Y our Ave ra ge M ont hly I nc ome

1. What is your marital and filing status? Check one only.
     Not married. Fill out Column A, lines 2-11.
    
    ✔ Married. Fill out both Columns A and B, lines 2-11.
     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
     the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
     from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                     Column A             Column B
                                                                                                     Debtor 1             Debtor 2 or
                                                                                                                          non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).
                                                                                                          3,360.15
                                                                                                     $__________                   201.22
                                                                                                                            $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.
                                                                                                              0.00
                                                                                                     $__________                     0.00
                                                                                                                            $__________

4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you
    listed on line 3.                                                                                         0.00
                                                                                                     $_________                      0.00
                                                                                                                            $__________

5. Net income from operating a business, profession, or
                                                                    Debtor 1      Debtor 2
    farm
                                                                         757.83
                                                                      $______          0.00
                                                                                  $______
    Gross receipts (before all deductions)
    Ordinary and necessary operating expenses                             0.00 – $______
                                                                    – $______         0.00

                                                                                              Copy
    Net monthly income from a business, profession, or farm              757.83        0.00 here           757.83                  0.00
                                                                      $______     $______            $_________            $__________

6. Net income from rental and other real property                   Debtor 1      Debtor 2

    Gross receipts (before all deductions)                                0.00
                                                                      $______          0.00
                                                                                  $______

    Ordinary and necessary operating expenses                             0.00 – $______
                                                                    – $______         0.00

                                                                                              Copy
    Net monthly income from rental or other real property                 0.00
                                                                      $______          0.00 here
                                                                                  $______                     0.00
                                                                                                     $_________                     0.00
                                                                                                                           $__________



Official Form 122C–1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                            page 1
                Case 2:24-bk-50310                                            Doc 1
                                                              Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor 1                Justin L. Roach                     Document
                       _______________________________________________________
                                                                               Page 44 of Case
                                                                                           53 number (if known)_____________________________________
                       First Name               Middle Name                       Last Name



                                                                                                                                                                    Column A              Column B
                                                                                                                                                                    Debtor 1              Debtor 2 or
                                                                                                                                                                                          non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                        0.00
                                                                                                                                                                     $____________                  0.00
                                                                                                                                                                                            $__________

8. Unemployment compensation                                                                                                                                                 0.00
                                                                                                                                                                     $____________                  0.00
                                                                                                                                                                                            $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ........................................ 

        For you .....................................................................................                        0.00
                                                                                                                  $_____________
        For your spouse .....................................................................                                0.00
                                                                                                                  $_____________

9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability, or
     death of a member of the uniformed services. If you received any retired pay paid
     under chapter 61 of title 10, then include that pay only to the extent that it does not
     exceed the amount of retired pay to which you would otherwise be entitled if retired                                                                                                           0.00
     under any provision of title 10 other than chapter 61 of that title.
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________          $__________

10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act; payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability,
     or death of a member of the uniformed services. If necessary, list other sources on a
     separate page and put the total below.
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________                 0.00
                                                                                                                                                                                           $___________
        __________________________________________________________________
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________                 0.00
                                                                                                                                                                                           $___________
        __________________________________________________________________

       Total amounts from separate pages, if any.                                                                                                                        0.00
                                                                                                                                                               + $____________                      0.00
                                                                                                                                                                                          + $__________
11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                                                   4,117.98
                                                                                                                                                                     $____________    +           201.22
                                                                                                                                                                                           $___________        = $________
                                                                                                                                                                                                                    4,319.20
                                                                                                                                                                                                                  Total average
                                                                                                                                                                                                                  monthly income




Pa rt 2 :           De te rm ine How to M e a sure Y our De duc t ions from Inc om e

12. Copy your total average monthly income from line 11. ..........................................................................................................................                                  4,319.20
                                                                                                                                                                                                               $_____________
13. Calculate the marital adjustment. Check one:

      You are not married. Fill in 0 below.
      You are married and your spouse is filing with you. Fill in 0 below.
     
     ✔ You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than
           you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
           list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.
            __________________________________________________________________________                                                                                          0.00
                                                                                                                                                                       $___________
            __________________________________________________________________________                                                                                          0.00
                                                                                                                                                                       $___________
            __________________________________________________________________________                                                                                          0.00
                                                                                                                                                                     + $___________
           Total ................................................................................................................................................               0.00
                                                                                                                                                                       $___________
                                                                                                                                                                                       Copy here             ─____________
                                                                                                                                                                                                                        0.00


14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                        4,319.20
                                                                                                                                                                                                                $ __________




Official Form 122C–1                                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                             page 2
                Case 2:24-bk-50310                                         Doc 1
                                                             Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor 1              Justin L. Roach                      Document
                      _______________________________________________________
                                                                              Page 45 of Case
                                                                                          53 number (if known)_____________________________________
                       First Name              Middle Name                     Last Name




15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here  ...........................................................................................................................................................................................
                                                                                                                                                                                                                                   4,319.20
                                                                                                                                                                                                                             $ ____________

             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                       x 12
     15b. The result is your current monthly income for the year for this part of the form. ....................................................................................                                                51,830.40
                                                                                                                                                                                                                             $___________



16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                OH
                                                                                                           _________

     16b. Fill in the number of people in your household.
                                                                                                                   4
                                                                                                           _________


     16c. Fill in the median family income for your state and size of household. ................................................................................................                                                108,950.00
                                                                                                                                                                                                                              $___________
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a. 
          ✔ Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).

     17b.  Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2).
                    On line 39 of that form, copy your current monthly income from line 14 above.

Pa rt 3 :              Ca lc ula te Y our Com m itm e nt Pe riod Unde r 1 1 U .S.C. § 1 3 2 5 (b)(4 )


18. Copy your total average monthly income from line 11. ............................................................................................................................                                             4,319.20
                                                                                                                                                                                                                              $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a. .............................................................................................
                                                                                                                                                                                                                            ─ $__________
                                                                                                                                                                                                                                    0.00

     19b. Subtract line 19a from line 18.                                                                                                                                                                                         4,319.20
                                                                                                                                                                                                                              $__________


20. Calculate your current monthly income for the year. Follow these steps:


     20a. Copy line 19b.. ...............................................................................................................................................................................................
                                                                                                                                                                                                                                4,319.20
                                                                                                                                                                                                                             $___________

              Multiply by 12 (the number of months in a year).                                                                                                                                                              x 12
     20b. The result is your current monthly income for the year for this part of the form.
                                                                                                                                                                                                                                51,830.40
                                                                                                                                                                                                                             $___________


     20c. Copy the median family income for your state and size of household from line 16c.......................................................................
                                                                                                                                                                                                                               108,950.00
                                                                                                                                                                                                                             $___________


21. How do the lines compare?


     
     ✔ Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.




      Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.




Official Form 122C–1                               Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                           page 3
            Case 2:24-bk-50310                Doc 1  Filed 01/29/24 Entered 01/29/24 14:53:00 Desc Main
Debtor 1     Justin L. Roach                       Document
              _______________________________________________________
                                                                      Page 46 of Case
                                                                                  53 number (if known)_____________________________________
              First Name     Middle Name        Last Name



Pa rt 4 :    Sign Be low


             By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

              /s/ Justin L. Roach
                 ___________________________________________________                 ____________________________________
                Signature of Debtor 1                                                    Signature of Debtor 2


                     01/29/2024
                Date _________________                                                   Date _________________
                       MM / DD   / YYYY                                                       MM /   DD    / YYYY

             If you checked 17a, do NOT fill out or file Form 122C–2.
             If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C–1             Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                              page 4
Case 2:24-bk-50310            Doc 1    Filed 01/29/24 Entered 01/29/24 14:53:00      Desc Main
                                      Document      Page 47 of 53

Ally Fincl                                           Syncb/Amazon
P.O. Box 380901                                      Po Box 981432
Bloomington, MN 55438                                El Paso, TX 79998

Amazon                                               Syncb/Naut
410 Terry Ave North                                  Po Box 981439
Seattle, WA 98109-0000                               El Paso, TX 79998

Bestegg                                              Syncb/Ppc
Po Box 42912                                         Po Box 530975
Philadelphia, PA 19101                               Orlando, FL 32896

Capital One                                          Upgrade Inc
Po Box 85064                                         2 North Central Ave, 10th Flr
Glen Allen, VA 23058                                 Phoenix, AZ 85004

Caponeauto                                           Wf Bank Na
3901 North Dallas Tollway                            Po Box 14517
Plano, TX 75093                                      Des Moines, IA 50306

City of Columbus
P.O. Box 182882
Columbus, OH 43218-2882

Dfs/Webbk
3500 Wadley Place Bldg A
Austin, TX 78728

First Premier Bank
601 S Minnesota Ave
Sioux Falls, SD 57104

Hnbhsc
Huntington Bank
Columbus, OH 43216

Jennifer Roach
2281 Majestic Drive W.
Columbus, OH 43232

Kohls/Cap1
Po Box 3115
Milwaukee, WI 53201

Ohio Department of Taxation
P.O. Box 182401
Columbus, OH 43218-0000

Ollo/Cws
Po Box 9222
Old Bethpage, NY 11804

Onemain
Po Box 1010
Evansville, IN 47706

Pennymac
P O Box 514387
Los Angeles, CA 90051
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 Notice Required by 11 U.S.C. § 342(b) for
 Individuals Filing for Bankruptcy (Form 2010)


                                                                 Chapter 7:        Liquidation
  This notice is for you if:

        You are an individual filing for bankruptcy,                      $245     filing fee
         and                                                                $78     administrative fee
                                                                 +          $15     trustee surcharge
        Your debts are primarily consumer debts.
                                                                           $338     total fee
         Consumer debts are defined in 11 U.S.C.
         § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
         primarily for a personal, family, or                    difficulty preventing them from paying their
         household purpose.”                                     debts and who are willing to allow their non-
                                                                 exempt property to be used to pay their
                                                                 creditors. The primary purpose of filing under
                                                                 chapter 7 is to have your debts discharged. The
 The types of bankruptcy that are                                bankruptcy discharge relieves you after
 available to individuals                                        bankruptcy from having to pay many of your
                                                                 pre-bankruptcy debts. Exceptions exist for
 Individuals who meet the qualifications may file                particular debts, and liens on property may still
 under one of four different chapters of the                     be enforced after discharge. For example, a
 Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                 mortgage or repossess an automobile.
        Chapter 7 — Liquidation
                                                                 However, if the court finds that you have
        Chapter 11 — Reorganization
                                                                 committed certain kinds of improper conduct
                                                                 described in the Bankruptcy Code, the court
        Chapter 12 — Voluntary repayment plan
                                                                 may deny your discharge.
                      for family farmers or
                      fishermen
                                                                 You should know that even if you file
                                                                 chapter 7 and you receive a discharge, some
        Chapter 13 — Voluntary repayment plan
                                                                 debts are not discharged under the law.
                      for individuals with regular
                                                                 Therefore, you may still be responsible to pay:
                      income
                                                                     most taxes;
 You should have an attorney review your                             most student loans;
 decision to file for bankruptcy and the choice of
                                                                     domestic support and property settlement
 chapter.
                                                                      obligations;




 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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    most fines, penalties, forfeitures, and                     your income is more than the median income
     criminal restitution obligations; and                       for your state of residence and family size,
    certain debts that are not listed in your                   depending on the results of the Means Test, the
     bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                 creditors can file a motion to dismiss your case
 You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
 from:                                                           motion is filed, the court will decide if your
                                                                 case should be dismissed. To avoid dismissal,
    fraud or theft;
                                                                 you may choose to proceed under another
    fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
     of fiduciary capacity;
                                                                 If you are an individual filing for chapter 7
    intentional injuries that you inflicted; and
                                                                 bankruptcy, the trustee may sell your property
    death or personal injury caused by                          to pay your debts, subject to your right to
     operating a motor vehicle, vessel, or                       exempt the property or a portion of the
     aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
     drugs.                                                      property, and the proceeds from property that
                                                                 your bankruptcy trustee sells or liquidates that
 If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
 court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
 that you have enough income to repay                            home, a car, clothing, and household items or
 creditors a certain amount. You must file                       to receive some of the proceeds if the property
 Chapter 7 Statement of Your Current Monthly                     is sold.
 Income (Official Form 122A–1) if you are an
 individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
 chapter 7. This form will determine your                        property, you must list it on Schedule C: The
 current monthly income and compare whether                      Property You Claim as Exempt (Official Form
 your income is more than the median income                      106C). If you do not list the property, the
 that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                 to your creditors.
 If your income is not above the median for
 your state, you will not have to complete the
 other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
 Test Calculation (Official Form 122A–2).
                                                                          $1,167    filing fee
 If your income is above the median for your                     +          $571    administrative fee
 state, you must file a second form —the                                  $1,738    total fee
 Chapter 7 Means Test Calculation (Official
 Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
 sometimes called the Means Test—deduct                          business, but is also available to individuals.
 from your income living expenses and                            The provisions of chapter 11 are too
 payments on certain debts to determine any                      complicated to summarize briefly.
 amount available to pay unsecured creditors. If



 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2
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Read These Important Warnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




 Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
             farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                 money that you owe them, usually using your
            $200   filing fee                                    future earnings. If the court approves your
 +           $78   administrative fee                            plan, the court will allow you to repay your
            $278   total fee
                                                                 debts, as adjusted by the plan, within 3 years or
                                                                 5 years, depending on your income and other
 Similar to chapter 13, chapter 12 permits
                                                                 factors.
 family farmers and fishermen to repay their
 debts over a period of time using future                        After you make all the payments under your
 earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
 not paid.                                                       debts that are not discharged and that you may
                                                                 still be responsible to pay include:
                                                                     domestic support obligations,
 Chapter 13: Repayment plan for
                                                                     most student loans,
             individuals with regular
             income                                                  certain taxes,
                                                                     debts for fraud or theft,
           $235    filing fee                                        debts for fraud or defalcation while acting
 +          $78    administrative fee                                 in a fiduciary capacity,
           $313    total fee
                                                                     most criminal fines and restitution
                                                                      obligations,
 Chapter 13 is for individuals who have regular
 income and would like to pay all or part of                         certain debts that are not listed in your
 their debts in installments over a period of time                    bankruptcy papers,
 and to discharge some debts that are not paid.                      certain debts for acts that caused death or
 You are eligible for chapter 13 only if your                         personal injury, and
 debts are not more than certain dollar amounts                      certain long-term secured debts.
 set forth in 11 U.S.C. § 109.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
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                                                                 A married couple may file a bankruptcy case
     Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                 case and each spouse lists the same mailing
     Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
     requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
     about your creditors, assets, liabilities, income,
     expenses and general financial condition. The               your spouse one copy of each notice, unless
     court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
     not file this information within the deadlines set by       each spouse receive separate copies.
     the Bankruptcy Code, the Bankruptcy Rules, and
     the local rules of the court.

     For more information about the documents and                Understand which services you
     their deadlines, go to:                                     could receive from credit
     http://www.uscourts.gov/forms/bankruptcy-forms              counseling agencies

                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
 Bankruptcy crimes have serious
                                                                 If you are filing a joint case, both spouses must
 consequences
                                                                 receive the briefing. With limited exceptions,
      If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
       assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
       under penalty of perjury—either orally or                 is usually conducted by telephone or on the
       in writing—in connection with a                           Internet.
       bankruptcy case, you may be fined,
       imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
       All information you supply in connection                 management instructional course before you
       with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
       examination by the Attorney General acting                case, both spouses must complete the course.
       through the Office of the U.S. Trustee, the
       Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
       offices and employees of the U.S.                         provide both the briefing and the instructional
       Department of Justice.                                    course from: http://www.uscourts.gov/services-
                                                                 forms/bankruptcy/credit-counseling-and-debtor-
 Make sure the court has your                                    education-courses.
 mailing address                                                 In Alabama and North Carolina, go to:
 The bankruptcy court sends notices to the                       http://www.uscourts.gov/services-
 mailing address you list on Voluntary Petition                  forms/bankruptcy/credit-counseling-and-
 for Individuals Filing for Bankruptcy (Official                 debtor-education-courses.
 Form 101). To ensure that you receive
                                                                 If you do not have access to a computer, the
 information about your case, Bankruptcy
                                                                 clerk of the bankruptcy court may be able to
 Rule 4002 requires that you notify the court of
                                                                 help you obtain the list.
 any changes in your address.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)      page 4
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LBR Form 2016-1(b)

                                       UNITED STATES BANKRUPTCY COURT
                                      FOR THE SOUTHERN DISTRICT OF OHIO
                                       Eastern
                                       ____________             Columbus
                                                    DIVISION AT ____________


 In re: Justin L. Roach                                                       Case No:

                                                                              Chapter 13

                                               Debtor(s)                      Judge


                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
               AND APPLICATION FOR ALLOWANCE OF FEES IN CHAPTER 13 CASE

I.        Disclosure

1.        Pursuant to 11 U.S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that I am the attorney for
          the above-named debtor(s) and that compensation paid to me within one year before the filing of
          the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
          behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                   4,350.00
     For legal services I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . $___________

                                                                                                500.00
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . $___________

                                                                                                                    3,850.00
     Balance due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $___________

2.        The source of the compensation paid to me was:

          ■
              Debtor                                            Other (specify)

3.        The source of compensation to be paid to me is:

          ■
              Debtor                                            Other (specify)

4.        ■
            I have not agreed to share the above-disclosed compensation with any other persons
          unless they are members and/or associates of my law firm.

            I have agreed to share the above-disclosed compensation with another person or
          persons who are not members or associates of my law firm. A copy of the agreement,
          together with a list of the names of the people sharing in the compensation, is attached.
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II.     Application

5.      I hereby apply for an allowance of fees in the amount set forth above. I understand and agree that
        the Court may approve, without itemization, an allowance of fees not to exceed $4,350, for
        rendering the legal services set forth below. If I seek payment of fees in excess of $4,350, I will
        file a separate application that sets forth the total amount of the fee requested, and that includes an
        itemization of all legal services performed, the hourly rate at which the services were performed,
        and the actual time spent by the case attorney, any other attorney, paralegal or professional person
        for whom fees are sought. Any request for reimbursement of expenses shall include an itemization
        of the expenses.

        a.       Initial client interview, preparation and signing of any retainer or representation agreement, analysis
                 of the debtor's financial situation, and rendering advice to the debtor in determining whether, and
                 under what chapter, to file a petition in bankruptcy;
        b.       Advising the debtor concerning his or her obligations and duties pursuant to the Code, the Rules, the
                 Local Rules, applicable court orders, and provisions of his or her chapter 13 plan;
        c.       Preparation and filing of any document required by § 521 of the Code, including Official Form l
                 22C- l and Official Form 122C-2 (if applicable), the petition, schedules, statement of financial
                 affairs and any amendments thereto that may be required;
        d.       Preparation and filing of the chapter 13 plan, and any preconfirmation amendments thereto that may
                 be required;
        e.       Preparation and filing of payroll orders and amended payroll orders, except amended payroll orders
                 prepared in connection with the modification of a plan or the temporary suspension of payments;
         f.      Representation of the debtor at the § 341 meeting of creditors and confirmation hearing, and at any
                 adjournments thereof;
        g.       Filing of address changes for the debtor;
        h.       Review of claims;
        i.       Review of notice of intention to pay claims;
        j.       Preparation and filing of objections to non-real estate and non-tax claims, exclusive of any hearings;
        k.       Preparation and filing of first motion to suspend or temporarily reduce plan payments;
        l.       Representation of the debtor in addressing any routine tax return or tax refund inquiries by the
                 trustee, exclusive of any motion, objection, or hearing;
        m.       Filing of a notice of final cure payment, when filed by the debtor, exclusive of any hearings;
        n.       Preparation and filing of debtor's certification regarding issuance of discharge order;
        o.       Routine phone calls and questions;
        p.       File maintenance and routine case management; and
        q.       Any other duty as required by local decision or policy.


6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:

       Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay
       actions or any other adversary proceeding; preparation and filing of motions pursuant to 11 USC
       522(f)(2)(A) for avoidance of liens on household goods.


01/29/2024
____________________                                     /s/ Danielle Weinzimmer, 0082119
                                                         _________________________________
Date                                                     Signature of Attorney
                                                        Fesenmyer Cousino Weinzimmer
                                                        400 S. Fifth St Suite 305
                                                        Columbus, OH 43215
                                                        614-228-4435
                                                        614-228-3882
                                                        danielle@fcwlegal.com
